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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------x
MARGARET RATNER KUNSTLER, DEBORAH
HRBEK, JOHN GOETZ & CHARLES GLASS,

                                   Plaintiffs,                                 22-Civ-6913 (JGK)

                          -    vs. -

CENTRAL INTELLIGENCE AGENCY, MICHAEL R.
POMPEO, DAVID MORALES GUILLEN
and UNDERCOVER GLOBAL S.L.,


                                    Defendants.
------------------------------------------------------------------x




                 MEMORANDUM OF LAW OF PLAINTIFFS
             MARGARET RATNER KUNSTLER, DEBORAH HRBEK,
             JOHN GOETZ AND CHARLES GLASS IN OPPOSITION
            TO DEFENDANT CENTRAL INTELLIGENCE AGENCY’S
      SECOND MOTION TO DISMISS THE COMPLAINT BASED ON THE STATE
             SECRETS PRIVILEGE AND STATUTORY PRIVILEGES




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                                 PRELMINARY STATEMENT
       The CIA has now moved to dismiss the case, a second time, based on its assertion of the

state secrets privilege. In support of its motion, the Director of the CIA, William Burns, has

submitted a declaration in which he avers that he has “asserted the state secrets and statutory

privileges to protect and preserve vital, classified intelligence information.” Dkt. No. 87, Public

Burns Decl., ¶ 12. However, critically, the disclosure of classified information is not the standard

for applying the state secrets privilege. The relevant inquiry is whether the information poses a

threat to national security. Federal Bureau of Investigation v. Fazaga, 595 U.S. 344, 357 142

S.Ct. 1051, 1061 (2022) (“central question [in applying the privilege] is . . .whether disclosure of

evidence would harm national security”); see U.S. v. Reynolds, 345 U.S. 1, 10 (1953) (the

privilege applies where “there is a reasonable danger that compulsion of the evidence will expose

military matters which, in the interest of national security, should not be divulged.”) see also,

e.g., United States v. Zabaydah, 595 U.S. 195, 204 (2022) (“The state-secrets privilege permits

the Government to prevent disclosure of information when that disclosure would harm national

security interests”). Accordingly, Director Burns has not satisfied the CIA’s burden and the

assertion of the privilege should be rejected.

       Further, any claim that national security will be harmed must be met skeptically by this

court given that the facts in this case are not a “secret” as they have already been the subject of

testimony in court proceedings in England and Spain, and widely reported by the press. See Dkt

No. 27 (FAC, ¶¶ 44-45); Dkt. No. 38 (Pl. Opp. to CIA’s First Motion to Dismiss at n. 3, 12, 15,

16, 19, 22, 25-27, 32, 34, 36)

       This case does not concern terroristic threats to destroy America that were uncovered

through technology or a program that must never be disclosed or else the threat will succeed.

Rather, this case is about the CIA searching and seizing cell phones and laptops of respected

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American lawyers and journalists, who committed no crime, and who have now stood up against

loss of liberties and the government’s intrusion into their private lives by copying the contents of

their cell phones and laptops. Under these circumstances, the Court must critically examine the

CIA’s claim that national security will be at risk unless the Court grants its motion to dismiss.

Ellsberg v. Mitchell, 709 F.2d 51, 58 (D.C. Cir. 1983) (“in order to ensure that the [state secrets]

doctrine is not asserted more frequently and sweepingly than necessary, it is essential that the

courts continue critically to examine instances of its invocation.”).

                                         BACKGROUND

       The First Amended Complaint alleges that when the Plaintiffs visited Julian Assange at

the Ecuadorian Embassy in London in 2017 and 2018, their electronic devices were unlawfully

searched and seized without a warrant or reasonable cause by the CIA and the private company

that operated the security at the embassy, Undercover Global (“UC Global”). Dkt. No. 27, ¶¶ 36-

38; 73, ¶ 36A. On December 19, 2023, the Court denied the CIA’s motion to dismiss. Dkt. No.

77. Following that decision, the CIA informed the Court that instead of answering the Complaint,

the CIA would make a second motion to dismiss on this basis of the state secrets privilege. Dkt.

No. 81. As respectfully submitted, herein, the CIA’s second motion to dismiss based on the state

secrets privilege should also be denied because the CIA has failed to meet its burden in asserting

the privilege.

                                           ARGUMENT
                                              POINT I
   THE STANDARD FOR ASSERTING THE STATE SECRETS PRIVILEGE IS NOT
                WHETHER INFORATION IS CLASSIFIED
       The Director of the CIA, William Burns, has submitted a declaration in which he avers

that he has “asserted the state secrets and statutory privileges to protect and preserve vital,



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classified intelligence information.” Dkt. No. 87, Public Burns Decl., ¶ 12. However, critically,

this is not the standard for applying the state secrets privilege. See Halkin v. Helms, 690 F.2d

977, n. 69 (D.C. Cir. 1982) (“although matter qualifying as a secret of state will presumably

always qualify for classified status, the privilege operates on premises. . .entirely different from

those governing the routine classification of information by lesser officials.”). Rather, the

relevant inquiry is whether the information poses a threat to national security. Federal Bureau of

Investigation v. Fazaga, 595 U.S. 344, 357 142 S.Ct. 1051, 1061 (2022) (“central question [in

applying the privilege] is . . .whether disclosure of evidence would harm national security”); see

Reynolds at 10 (the privilege applies where “there is a reasonable danger that compulsion of the

evidence will expose military matters which, in the interest of national security, should not be

divulged.”); see also, e.g., Zubaydah at 204 (“The state-secrets privilege permits the Government

to prevent disclosure of information when that disclosure would harm national security

interests”). While elsewhere in his declaration Director Burns make the sweeping claim that

admitting or denying the allegations in the First Amended Complaint could be expected to cause

serious damage to the national security of the United States, no explanation is provided. Burns

Decl., ¶ 9. Accordingly, Director Burns has not satisfied the CIA’s burden, the assertion of the

privilege should be rejected, and the CIA’s motion to dismiss should be denied.

                                             POINT II
           THE ALLEGATIONS IN THE COMPLAINT ARE NOT A “SECRET”
       In addition, the CIA’s motion to dismiss based on state secrets privilege should be denied

because there is no “secret” at issue. The first step in determining whether a piece of information

constitutes a “state secret” is determining whether that information actually is a “secret.” Hepting

v. AT&T Corp., 439 F.Supp.2d 974, 986 (N.D.Cal. 2006). “In determining whether a factual

statement is a secret for purposes of the state secrets privilege, the court should look only at
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publicly reported information that possesses substantial indicia of reliability and whose

verification or substantiation possesses the potential to endanger national security.” Id. at 990.

“That entails assessing the value of the information to an individual or group bent on threatening

the security of the country, as well as the secrecy of the information.” Id. Finally, in determining

whether the privilege applies, the court is not limited to considering strictly admissible evidence.

Id. at 991 (citing FRE 104(a) (Preliminary questions concerning the existence of a privilege shall

be determined by the court. In making its determination it is not bound by the rules of evidence

except those with respect to privileges.). This is because the issue at bar is not proving a question

of liability but rather determining whether information that the government contends is a secret is

actually a secret. Id. In making this determination, the court may rely upon reliable public

evidence that might otherwise be inadmissible at trial because it does not comply with the

technical requirements of the rules of evidence. Id.

       The Supreme Court’s most recent decision on the state secrets privilege is instructive. In

United States v. Zabaydah, 595 U.S. 195, 207 (2022), the Court held, “sometimes information

that has entered the public domain may nonetheless fall within the scope of the state secrets

privilege.” (emphasis added). See Husayn v. Mitchell, 938 F.3d 1123, 1133 (9th Cir. 2019), rev’d

and remanded sub nom. United States v. Zabaydah, 595 U.S. 195 (2022) (“In order to be a ‘state

secret,’ a fact must first be a ‘secret.’”). The Supreme Court’s language in Zabaydah is clear that

there are times when otherwise secret information that falls into the public domain is no longer

within the scope of the privilege. This is such an instance.

       Public court records confirm that the CIA spied on Americans who visited Assange at the

embassy; it is not a secret. The CIA’s spying was confirmed under oath by insiders of U.C.

Global, in affidavits submitted in Julian Assange’s extradition hearings in the U.K. See Exh. 4,



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Assange v. USA, Approved Judgment, 26 Mar. 2024, Case No: AC-20220LON-001745 and 1746,

High Court of Justice, King’s Bench Division, Divisional Court. 2 The U.K. Court recited the

evidence as follows:

       ¶ 70.   [Assange’s] Spanish lawyers have filed a criminal complaint in Spain
               against the owner of UC Global, which was responsible for providing
               security at the Ecuador Embassy in London. Two anonymous witnesses
               who were employed by UC Global provided statements before a public
               notary. Witness 1 said that as well as providing monthly security reports to
               the government of Ecuador, UC Global also secretly provided copies of
               the reports to the United States authorities. The owner of UC Global made
               regular trips to the United States to speak with the CIA. His wealth
               increased considerably. The information provided to the United States
               included details of meetings between the applicant and his lawyers.

       ¶ 71.   Witness 2 alleges the following (assuming that when the witness says
               “American friends” this is a reference to the CIA). Guy Goodwin Gill (a
               lawyer who had visited the applicant) was required to leave his iPad with
               security when he entered the embassy. The contents of his iPad were
               illicitly copied. Witness 2 was asked to steal the nappy of a baby who was
               visiting [Assange] because the CIA wished to establish the child’s
               paternity. Suggestions were made by the CIA of extreme measures to end
               the [Assange’s] stay in the embassy, including leaving the door open to
               enable his kidnap or poisoning him. Illicit recording equipment was
               placed in the embassy at the behest of the CIA. He was asked to place
               stickers on the external windows of the embassy, which enabled the CIA
               (using directional microphones outside the embassy) to extract the
               [Assange’s] conversations (despite a white noise machine [Assange] used
               as a counter-surveillance measure). Security personnel were asked to
               obtain the [Assange’s] fingerprints from an imprint on a glass. Security
               personnel stole documents from the [Assange]. Security personnel were
               instructed to target [Assange’s] lawyers, and to photograph their
               documentation. He installed an FTP server which stored the
               embassy’s daily security reports and which could be (and was)
               accessed remotely from the United States by the CIA. UC Global
               made monthly payments of €20,000 to the person responsible for
               security at the embassy to ensure that there were no negative reports
               about its work.


Id. at ¶¶ 70-71 (emphasis added).


2
 available at https://www.judiciary.uk/judgments/assange-v-government-of-the-united-states-of-
america-3/#related_content (last visited May 23, 2024).
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       The affidavits of “Witness 1” and “Witness 2” referenced in the Court’s judgment are

public court records and attached here as Exhibit 2-3. Quille Decl., ¶ 5, Exhs. 2-3. The

Witnesses were granted anonymity by a Spanish Court for fear of their safety. Quille Decl., ¶ 5,

Exh. 1 (Martinez Aff.,. ¶¶ 4-12). All of these affidavits are publicly available as part of

Assange’s extradition matter in England. Quille Decl., ¶¶ 5-6. Further, these affidavits remain

publicly available on the Internet. Quille Aff., ¶ 6. Further, the attorney for the owner of U.C.

Global, David Morales, recently admitted in a German television interview that UC Global had

worked for the CIA. Who Spied on Julian Assange? Dec. 3, 2019 avaiable at

https://www.youtube.com/watch?v=qfWoIAsIn6Y (last visited May 23, 2024). See Id. at 4:45

(“I have already said that UC Global has worked with the U.S. intelligence service multiple

times.”)

       Under these circumstances, the CIA’s spying operation at the Ecuadorian embassy in

London is not a “secret.” This is particularly the case, because the sworn statements come from

insiders of UC Global. Quille Aff., Exhs. 2-3 (Witness 1 and 2 Affidavits). The Supreme Court

has indicated the “insiders” have elevated importance in the analysis of whether the state secrets

privilege applies, stating that information from “insiders” “is different in kind from speculation

in the press or even by foreign courts because it leaves virtually no doubt as to the veracity of the

information that has been confirmed.” Zabaydah at 969. In Zabaydah, the Supreme Court used

this reasoning to deny Zabaydah the ability to subpoena the same “secret” information (regarding

the existence of a secret American detention site in Poland) from CIA “insiders” that had already

been made public by “outsiders” such as the media and the President of Poland who confirmed

the existence of the U.S. detention site in Poland. Zabaydah at 969.




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       Here, Plaintiffs have started this litigation with the purported ‘secret’ information having

already been disclosed by “insiders” of UC Global who confirmed the U.C. Global worked with

American intelligence agencies, and that the CIA’s espionage that Ecuadorian embassy in

London where the security was provided by U.C. Global, targeted Americans visiting Assange.

Despite the fact that this ‘secret’ fell into the public domain through U.C. Global’s employees’

public testimony, the CIA claims that this information is a ‘secret.’ However, there is no secret,

because, as stated by the Supreme Court in Zabaydah, the disclosure by U.C. Global insiders

“leaves virtually no doubt as to the veracity of the information that has been confirmed.” Here,

the relationship between the CIA and U.C. Global at the embassy, and the conduct of U.C.

Global and the CIA in the embassy, cannot be a secret, when one party to the secret has openly

and publicly disclosed it. Quille Aff., ¶¶ 2-3. The Court should reject the CIA’s attempt to put the

toothpaste back in the tube.

       Further, the concern that animated the Supreme Court’s decision in Zabyadah to apply

the state secrets privilege despite public reporting disclosing the ‘secret’ does not exist in this

case. Specifically, in Zabaydah the Court’s concern in accepting the assertion of the privilege

was that, “sensitive relationships with other nations are based on mutual trust that the classified

existence and nature of the relationship will not be disclosed.” Id. at 208. Here, there is no

allegation in the Complaint related to any relationships between the CIA and other nations or

foreign intelligence services. The Complaint plainly alleges that the CIA put U.C. Global, the

private company in charge of security at the embassy, on its payroll to harass Assange and violate

Plaintiffs’ Fourth Amendment rights. Dkt. No. 27 FAC, ¶¶ 36, 36A-38.




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       A. There is a Feasible Way to Segregate Nonprivileged Information in this Case

       Further, any hypothetical involvement or participation by another nation in the CIA’s

Fourth Amendment violations is not relevant to Plaintiff’s claims, and the case can proceed

without discovery or any inquiry into any other nation’s hypothetical relationship with the United

States or this case. See Husayn v. Mitchell, 965 F.3d 775 (9th Cir. 2020)(“a court to determine

whether the contested materials contain nonprivileged information and, if so, whether there is

any feasible way to segregate the nonprivileged information from the privileged information.”);

Mohamed v. Jeppsen Dataplan, Inc., 614 F.3d 1070, 1082 (9th Cir. 2010). Only after exhausting

this effort can a district court contemplate dismissal [based on state secrets privilege].” Husayn at

776.

                                             POINT III
THE CIA FAILED TO MAKE ANY SHOWING OF A RISK TO NATIONAL SECURITY
       The CIA’s motion to dismiss based on the state secrets privilege must also be rejected

because the CIA has failed to make any showing of a risk to national security by denying the

CIA’s motion. When the state secrets privilege is asserted, the central question is . . . whether its

disclosure would harm national-security interests. Federal Bureau of Investigation v. Fazaga,

595 U.S. 344 (2022). As the Supreme Court explained in Reynolds, the privilege applies where

“there is a reasonable danger that compulsion of the evidence will expose military matters which,

in the interest of national security, should not be divulged.” Id. at 10; see Federal Bureau of

Investigation v. Fazaga, 595 U.S. 344 (2022)(citing Reynolds) see also, e.g., Zubaydah at 204

(“The state-secrets privilege permits the Government to prevent disclosure of information when

that disclosure would harm national security interests”); General Dynamics Corp. v. U.S., 563

U.S., 478, 484 (2011) (noting that the privilege exists to serve the “sometimes-compelling



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necessity of governmental secrecy” over “military, intelligence, and diplomatic” information). As

explained in Black v. U.S., 62 F.3d 1115, 1118 (8th Cir. 1995):

       The state secrets privilege has been held to apply to information that would result
       in “impairment of the nation's defense capabilities, disclosure of intelligence-
       gathering methods or capabilities, and disruption of diplomatic relations with
       foreign governments,” Ellsberg v. Mitchell, 709 F.2d 51, 57 (D.C.Cir.1983)
       (footnotes omitted), cert. denied, 465 U.S. 1038, 104 S.Ct. 1316, 79 L.Ed.2d 712
       (1984), or where disclosure “would be inimical to national security,” Zuckerbraun
       v. General Dynamics Corp., 935 F.2d 544, 546 (2d Cir.1991). “Although the term
       ‘military or state secrets' is amorphous in nature, it should be defined in the light
       of ‘reason and experience,’ much in the same way that the term ‘national defense’
       has been defined ... [as] a ‘generic concept of broad connotations, referring to the
       military and naval establishments and the related activities of national
       preparedness.’ ” Jabara v. Kelley, 75 F.R.D. 475, 483 n. 25 (E.D.Mich.1977)
       (quoting Gorin v. United States, 312 U.S. 19, 28, 61 S.Ct. 429, 434, 85 L.Ed. 488
       (1941))
Id.

       A court considering an assertion of the state secrets privilege may order the disclosure of

lawfully obtained evidence if it finds that disclosure would not affect national security. Federal

Bureau of Investigation v. Fazaga, 595 U.S. 344, 357 (2022); see Hepting v. AT&T Corp., 439

F.Supp.2d 974, 986 (N.D.Cal. 2006)(denying assertion of state secrets privilege)(“the court

cannot conclude that merely maintaining this action creates a “reasonable danger” of harming

national security.”). “Simply ... invoking an ethereal fear that disclosure will threaten our nation

is insufficient to support the privilege.” Al-Haramain Islamic Found. v. Bush, 507 F.3d 1190,

1203 (9th Cir. 2007).

A. The CIA Failed to Establish Any Reasonable Danger of Harming National Security
       Here, the CIA’s motion fails to identify any “reasonable danger of harming national

security.” Such a claim, even if made, would be implausible for numerous reasons, including: (1)

Assange is no longer at the Ecuadorian Embassy in London and has been in Belmarsh, a high



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security prison in the UK, for the last five years 4; and (2) U.C. Global no longer has the contract

at the Ecuadorian Embassy. 5 There is no claim to the contrary by the CIA.

        To the extent that government seeks to hide the details of its intelligence gathering at the

embassy in 2017 and 2018, it must establish to the Court’s satisfaction, that the details of its

intelligence gathering at the Ecuadorian Embassy in 2017 and 2018, jeopardizes the national

security of the United States today. This is an uphill burden as Assange has not been at the

embassy for five years, U.C. Global no longer has the contract at the embassy, and the details of

the operation have already been testified to by former employees of the private security company

without any effect on the national security of the nation. Plainly, the government is asserting the

privilege only to avoid the inconvenience of answering to Plaintiffs – well-respected American

lawyers and journalists who pose no threat to national security – for unlawfully searching and

seizing the contents of their electronic devices. It is clear that the government’s invocation of the

state secrets privilege is only being asserted to prevail in this action.

                                              POINT IV

       THE ACTION MAY PROCEED WITHOUT PRIVILEGED INFORMATION

        “Even the state secrets privilege has its limits.” Hepting v. AT&T Corp., 439 F.Supp.2d

974, 986 (N.D.Cal. 2006). (“When a litigant must lose if the claim is upheld and the

government's assertions are dubious in view of the nature of the information requested and the

circumstances surrounding the case, careful in camera examination of the material is not only

appropriate, but obligatory.” Ellsberg, 709 F.2d at 59 n. 37 (citations omitted). To defer to a



4
 https://www.amnesty.org/en/latest/news/2024/04/julian-assanges-five-year-imprisonment-uk-
unacceptable/
5
  https://english.elpais.com/international/2023-07-18/spanish-company-that-spied-on-assange-
allegedly-informed-cia-about-meetings-held-by-latin-american-leaders.html
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blanket assertion of secrecy here would be to abdicate that duty, particularly because the very

subject matter of this litigation has been so publicly aired. The compromise between liberty and

security remains a difficult one. But dismissing this case at the outset would sacrifice liberty for

no apparent enhancement of security. Lerner v. Casey, 357 U.S. 399, 415 (1958) (“it is delusion

to think that the nation’s security is advanced by the sacrifice of the individual’s basic liberties.

The fears and doubts of the moment may loom large, but we lose more than we gain if we

counter with a resort to alien procedures or with a denial of constitutional guarantees.”)(internal

citation omitted); Husayn v. Mitchell, 965 F.3d 775 (9th Cir. 2020)(“the third step of that process,

which requires a court to determine whether the contested materials contain nonprivileged

information and, if so, whether there is any feasible way to segregate the nonprivileged

information from the privileged information. Mohamed, 614 F.3d at 1082. Only after exhausting

this effort can a district court contemplate dismissal. Id.”)

       Here, the CIA has not established that any purported privileged information that risks the

security of the United States cannot be segregated from the fact that the CIA unlawfully searched

and seized the contents of Plaintiff’s cell phones and laptops at the Ecuadorian embassy in

London in the years 2017 and 2018. Dkt. No. 27, FAC, ¶¶ 1- 4, 36-38; Dkt. No. 73, ¶ 36A; See

Roule v. Patraeus, 2012 WL 2367873 (N.D.Cal. 2012)(“the court cannot see why it should

impose a full stop on discovery when redactions, pseudonyms, and high-level information

conceivably could result in sufficient information being produced to Roule. The court denies

without prejudice the Government's objections to discovery on this ground.”)

       Plaintiffs do not demand access to top secret military hardware, weapons, or war plans.

Plaintiffs seek only to prove that the CIA unreasonably searched and seized the contents of their

electronic devices in violation of U.S. law. The CIA’s 18-month wait to even assert the privilege



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demonstrates how weak the claim is. To the extent the fact that the CIA spied on Assange at the

embassy is the “privileged” information, that information can also be segregated from Plaintiff’s

claim that the CIA violated their Fourth Amendment rights. Discovery of the results of the CIA’s

Assange espionage have no bearing on Plaintiff's claim and are unnecessary to establish the

constitutional violations.

                                             POINT V

        DISMISSAL OF THE ACTION BASED ON STATUTORY PRIVILEGE IS
                            UNPRECEDENTED

       In addition to moving to dismiss the Complaint based on state secrets privilege, the CIA

asserts the CIA’s statutory privileges under Section 102A(i)(1) of the National Security Act of

1947 and the Central Intelligence Agency Act of 1949 to protect intelligence sources, methods,

and activities at issue in this litigation. Dkt. No. 86 (CIA Br. at 15). 50 U.S.C. §§ 3024(i)(1),

3507. In support, the CIA cites Kronisch v. United States, 1994 WL 52992 at *8 (S.D.N.Y. 1994),

however, Kronisch is not helpful to the CIA and easily distinguishable because that decision was

the application of the CIA’s statutory privileges in the context of discovery of discovery dispute,

not a means to dispense with an action altogether on a motion to dismiss, particularly one

alleging a violation of a plaintiff’s Fourth Amendment rights by the CIA such as this one. See

Kronisch v. United States, 150 F.3d 112, n. 3 (2d Cir. 1998)(denying motion to compel disclosure

of redactions made in the CIA’s production of thirty thousand pages of documents).

       The remaining cases cited by the CIA are likewise distinguishable as all involved the

assertion of statutory privileges in the context of redactions in government responses to Freedom

of Information Act (“FOIA”) requests, including DiBacco v. Department of the Army, 926 F.3d

827 (D.C.Cir. 2019); ACLU v. DOJ, 681 F.3d 61, 73 (2d Cir. 2012); and CIA v. Sims, 471 U.S.

159, 168-169 (1985). The CIA cites no authority for the complete dismissal of an action

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based on the CIA’s statutory privileges under the National Security Act of 1947 and the Central

Intelligence Agency Act of 1949 and for this court to do so appears to be unprecedented.

Regardless, the CIA has failed to establish why “[the court] should impose a full stop on

discovery when redactions, pseudonyms, and high-level information conceivably could result in

sufficient information being produced”). Roule v. Patraeus, 2012 WL 2367873 (N.D.Cal. 2012).

                                           Conclusion

       For the foregoing reasons, the CIA’s motion to dismiss based on its assertion of the state

secrets privilege must be denied.




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                              CERTIFICATE OF COMPLIANCE

       The undersigned counsel hereby certifies that this brief complies with the word limits and

formatting rules in Section II.D of this Court’s Individual Practices, as amended by the Court’s

order of March 16, 2023. ECF No. 33. As measured by the word processing system used to

prepare this brief, there are 4,020 words in this brief.

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